621 F.2d 227
    UNITED STATES of America, Plaintiff-Appellee,v.The CITY OF BLUE ASH, OHIO; the City Council of the City ofBlue Ash; the Mayor, Raymond L. MacNab; and theSolicitor, Robert L. McConaughy,Defendants-Appellants.
    No. 78-3177.
    United States Court of Appeals, Sixth Circuit.
    April 15, 1980.
    
      Robert T. McConaughy, Dinsmore, Shohl, Coates &amp; Deupree, Cincinnati, Ohio, for defendants-appellants.
      James C. Cissell, U. S. Atty., and Gerald F. Kaminski, Asst. U. S. Atty., Cincinnati, Ohio, Barbara B. O'Malley, Larry Moore, Barbara Allen Babcock, Morton Hollander, Eloise E. Davies, Dept. of Justice, Washington, D. C., for plaintiff-appellee.
      Before CELEBREZZE and BROWN, Circuit Judges, PHILLIPS, Senior Circuit Judge.
    
    ORDER
    
      1
      This is an appeal of a grant of summary judgment by the district court to the United States (on cross-motions for summary judgment) in an action brought by the government to enjoin enforcement of an ordinance of the City of Blue Ash, Ohio prescribing the course to be taken by aircraft when taking off from the Cincinnati--Blue Ash Airport.
    
    
      2
      Upon consideration, the court is of the opinion that the decision of the district judge, Honorable Timothy S. Hogan, is correct for reasons stated in his memorandum filed February 7, 1978, 487 F.Supp. 135.
    
    
      3
      It is therefore Ordered that the judgment of the district court be and the same is hereby affirmed.
    
    